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                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Timothy M. Cotter
       Melissa S. Cotter
                                 Debtor(s)                                     Chapter 13

FREEDOM MORTGAGE CORPORATION
                  v.
Timothy M. Cotter                                                          NO. 17-13357 AMC
Melissa S. Cotter
                  and
Scott F. Waterman
                      Trustee

                                                    ORDER
        AND NOW, this           day of               , 2022 upon the filing of a Certification of Default by the
Moving Party in accordance with the Stipulation of the parties approved on June 30, 2020 it is ORDERED AND
DECREED that:
        The Automatic Stay of all proceedings, as provided under 11 U.S.C. Sections 362 and 1301 of the
Bankruptcy Reform Act of 1978 (The Code) 11 U.S.C. 11 U.S.C. Sections 362 and 1301 (if applicable), is
modified to allow FREEDOM MORTGAGE CORPORATION and its successor in title to proceed with the
execution process through, among other remedies but not limited to Sheriff's Sale regarding the premises 216
South 10th Street Quakertown, PA 18951.
        The stay provided by Bankruptcy Rule 4001(a)(3) has been waived.




Date: August 22, 2022                                     United States Bankruptcy Judge.


cc: See attached service list
